aul Mama] SM lalie)anarcliolamcomte(- alla minl-merchion

Debtor 1 Kimberly Ann Conahan

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the MIDDLE _ District of PENNSYLVANIA

Case number 5:23-bk-00117-MJC

Official Form 410381
Notice of Mortgage Payment Change 12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: MORGAN STANLEY MORTGAGE CAPITAL Court claim no. (if Known): 14-1
HOLDINGS LLC

Last 4 digits of any number you use to Date of payment change: 12/01/2023

identify the debtor's account: 8949 Must be at least 21 days after date
of this notice

New total payment: $928.60
Principal, interest, and escrow, if any

Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

a No.

a Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

Current escrow payment: _ New escrow payment:

Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?

a No.

a Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
explain why:

Current interest rate: New interest rate:

Current principal and interest payment: New principal and interest payment:

Other Payment Change
a

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
a No
m Yes. Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change: Loan Modification

Current mortgage payment $857.99 New mortgage payment: $928.60

Official Form 41081 Notice of Mortgage Payment Change page 1

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc
Main Document Page1of9
Debtor 1 Kimberly Ann Conahan Case number (i known) 5:23-bk-00117-MJC

Print Name Middie Name Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

O| am the creditor

| am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.

/s/ Robert Shearer May 3, 2024
x __ Date
Signature
a Robert Shearer
Print Title | Authorized Agent for Creditor
First Name Middle Name Last Name

Company Robertson, Anschutz, Schneid, Crane & Partners, PLLC

Address 130 Clinton Rd #202
Number Street

Fairfield NJ 07004
City State ZIP Code
rshearer@raslg.com
Contact Phone 470-321-7112 Email

In instances where the borrower has been harmed due to a missed/late payment change notice, Selene will provide a

credit to the borrower for each payment that came due that was affected by the missed/late payment change notice.

Please note the creditor is in the process of filing a Transfer of Claim to reflect the creditor as the transferee of this claim.
However, this notice of mortgage payment change is being filed to ensure the creditor’s compliance with Fed. R. Bankr.

P. 3002.1.

Official Form 41081 Notice of Mortgage Payment Change page 2

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc
Main Document Page 2 of 9
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on May 3, 2024 , I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to

the following:

KIMBERLY ANN CONAHAN
103 EMEADOW ST
SHAVERTOWN, PA 18708-9793

And via electronic mail to:

MICHAEL I. ASSAD
CIBIK LAW, P.C.

1500 WALNUT ST STE 900
PHILADELPHIA, PA 19102

JACK N ZAHAROPOULOS
STANDING CHAPTER 13
(TRUSTEE)

8125 ADAMS DRIVE, SUITE A
HUMMELSTOWN, PA 17036

UNITED STATES TRUSTEE
US COURTHOUSE

1501 N. 6TH ST
HARRISBURG, PA 17102

/s/ Robert Shearer
By:

Official Form 41081 Notice of Mortgage Payment Change page 3

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc
Main Document Page 3of9
After Recording Return To:
Rushmore Loan Management
Services LLC

15480 Laguna Canyon Road
Irvine, California 92618
1-888-504-6700

This Document Prepared By:
Srdjan Njego

Rushmore Loan Management
Services LLC

15480 Laguna Canyon Road
Irvine, California 92618

[Space Above This Line For Recording Data]
Original Loan Amount: $114,000.00 Loa

LOAN MODIFICATION AGREEMENT
(Providing for Step Interest Rate)

This Loan Modification Agreement (“Agreement”), made this 22nd day of December, 2017,
between KIMBERLY CONAHAN, SOLELY (“Borrower”) and Owner, by and through Rushmore Loan
Management Services LLC, as current servicer and agent, whose address is 15480 Laguna
Canyon Road, Irvine, California 92618 (“Lender”), amends and supplements (1) the Mortgage, Deed of
Trust, or Security Deed (the “Security Instrument’), and Timely Payment Rewards Rider, if any, dated
April 25, 2005 and recorded in Book/Liber 3005, Page 105181, instrument No: 5635076, of the Official
Records of PENNSYLVANIA County, PA and (2) the Note, bearing the same date as, and secured by,
the Security Instrument, which covers the real and personal property described in the Security Instrument
and defined therein as the “Property”, located at

103 EAST MEADOW STREET, SHAVERTOWN, PA 18708,
(Property Address)

the real property described being set forth as follows:

SEE ATTACHED LEGAL DESCRIPTION - EXHIBIT "A"

i@ Mae Uniform Instrument - Pennsylvania Form 3162 06/06 (rev. 06/12)
(page 1 of 6)

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc
Main Document Page 4of9
In consideration of the mutual promises and agreements exchanged, the parties hereto agree as

follows (notwithstanding anything to the contrary contained in the Note or Security Instrument):

1.

As of December 22, 2017, the amount payable under the Note and the Security Instrument (the
“Unpaid Principal Balance") is U.S. $115,000.00, consisting of the unpaid amount(s) loaned to
Borrower by Lender plus any interest and other amounts capitalized.

Borrower promises to pay the Unpaid Principal Balance, plus interest, to the order of Lender.
Interest will be charged on the Unpaid Principal Balance for the first three years at the yearly rate
of 2.500% from November 01, 2017, and Borrower promises to pay monthly payments of
principal and interest in the amount of $379.24 beginning on the 1st day of December, 2017.
During the fourth year, interest will be charged at the yearly rate of 3.500% from November 01,
2020, and Borrower shall pay monthly payments of principal and interest in the amount of
$441.31 beginning on the 1st day of December, 2020. During the fifth year, interest will be
charged at the yearly rate of 4.500% from November 01, 2021, and Borrower shall pay monthly
payments of principal and interest in the amount of $506.74 beginning on the 1st day of
December, 2021. During the sixth year, interest will be charged at the yearly rate of 5.500% from
November 01, 2022, and Borrower shall pay monthly payments of principal and interest in the
amount of $575.01 beginning on the 1st day of December, 2022. During the seventh year,
interest will be charged at the yearly rate of 6.500% from November 01, 2023, and Borrower
shall pay monthly payments of principal and interest in the amount of $645.62 beginning on the
1st day of December, 2023. During the eighth year and continuing thereafter until the Maturity
Date (as hereinafter defined), interest will be charged at the yearly rate of 7.500% from
November 01, 2024, and Borrower shall pay monthly payments of principal and interest in the
amount of $718.14 beginning on the 1st day of December, 2024 and shall continue the monthly
payments thereafter on the same day of each succeeding month until principal and interest are
paid in full. If on November 1, 2047 (the "Maturity Date"), Borrower still owes amounts under the
Note and the Security Instrument, as amended by this Agreement, Borrower will pay these
amounts in full on the Maturity Date.

If all or any part of the Property or any interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without
Lender’s prior written consent, Lender may require immediate payment in full of all sums secured
by the Security Instrument.

If Lender exercises this option, Lender shail give Borrower notice of acceleration. The notice shail
provide a period of not less than 30 days from the date the notice is delivered or mailed within
which Borrower must pay all sums secured by the Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by
the Security Instrument without further notice or demand on Borrower.

Borrower also will comply with all other covenants, agreements, and requirements of the Security
Instrument, including without limitation, Borrower's covenants and agreements to make all
payments of taxes, insurance premiums, assessments, escrow items, impounds, and all other
payments that Borrower is obligated to make under the Security Instrument; however, the

nnie Mae Uniform Instrument - Pennsylvania Form 3162 06/06 (rev. 08/12)
(page 2 of 6)

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc

Main Document Page 5of9
following terms and provisions are forever canceled, null and void, as of the date specified in
paragraph No. 1 above:

(a)

(b)

all terms and provisions of the Note and Security Instrument (if any) providing for,
implementing, or relating to, any change or adjustment in the rate of interest payable
under the Note, including, where applicable, the Timely Payment Rewards rate reduction,
as described in paragraph 1 of the Timely Payment Rewards Addendum to Note and
paragraph A.1. of the Timely Payment Rewards Rider. By executing this Agreement,
Borrower waives any Timely Payment Rewards rate reduction to which Borrower may
have otherwise been entitled; and

all terms and provisions of any adjustable rate rider, or Timely Payment Rewards Rider,
where applicable, or other instrument or document that is affixed to, wholly or partially
incorporated into, or is part of, the Note or Security Instrument and that contains any such
terms and provisions as those referred to in (a) above.

5. Borrower understands and agrees that:

(a)

(b)

(c)

(d)

(e)

All the rights and remedies, stipulations, and conditions contained in the Security
Instrument relating to default in the making of payments under the Security Instrument
Shall also apply to default in the making of the modified payments hereunder.

All covenants, agreements, stipulations, and conditions in the Note and Security
Instrument shall be and remain in full force and effect, except as herein modified, and
none of the Borrower’s obligations or liabilities under the Note and Security Instrument
shall be diminished or released by any provisions hereof, nor shall this Agreement in any
way impair, diminish, or affect any of Lender's rights under or remedies on the Note and
Security Instrument, whether such rights or remedies arise thereunder or by operation of
law. Also, all rights of recourse to which Lender is presently entitled against any property
or any other persons in any way obligated for, or liable on, the Note and Security
Instrument are expressly reserved by Lender.

Nothing in this Agreement shall be understood or construed to be a satisfaction or
release in whole or in part of the Note and Security instrument.

All costs and expenses incurred by Lender in connection with this Agreement, including
recording fees, title examination, and attorney's fees, shall be paid by the Borrower and
shall be secured by the Security Instrument, unless stipulated otherwise by Lender.

Borrower agrees to make and execute such other documents or papers as may be
necessary or required to effectuate the terms and conditions of this Agreement which, if
approved and accepted by Lender, shall bind and inure to the heirs, executors,
administrators, and assigns of the Borrower.

6. Notwithstanding anything to the contrary contained in this Agreement, if a discharge has been
granted, Borrower and Lender acknowledge the effect of a discharge in bankruptcy that has been

annie Mae Uniform Instrument - Pennsylvania Form 3162 06/06 (rev. 06/12)
(page 3 of 6)

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc

Main Document Page 6 of 9
granted to Borrower prior to the execution of this Agreement and that Lender may not pursue
Borrower for personal liability. However, Borrower acknowledges that Lender retains certain
rights, including but not limited to the right to foreclose its lien evidenced by the Security
Instrument under appropriate circumstances. The parties agree that the consideration for this
Agreement is Lender's forbearance from presently exercising its rights and pursuing its remedies
under the Security Instrument as a result of Borrower's default thereunder. Nothing in this
Agreement shall be construed to be an attempt to collect against Borrower personally or an
attempt to revive personal liability.

In Witness Whereof, the Lender and | have executed this Agreement.

aK mdourb | Corot (Seal)

KIMBERLY CONAHAN -Borrower

[Space Below This Line For Acknowledgments]

COMMONWEALTH OF PENNSYLVANIA, Cu Z2ZEne County ss:

On this, the 3 day of Na4uqs YY, 20 [ S, before me, the undersigned officer, personally
appeared (MV ty Ly Cow athe

satisfactorily proven to be the person(s) whose name(s) is/are subscribed to the written instrument and
acknowledged that he/she/they executed the same for the purpose herein contained.

IN WITNESS WHEREOF, I hereunto set my hand and official seal.
My commission expires: 0 & j L& [ aw 0. LO

le’ {l lrveed FL 5B Wy
Signature of Notary
dtr, f ¢ by bin =—C
Title of Officer

Origination Company: Rushmore Loan Management Services LLC
NMLSR ID: 185729

COMMONWEALTH OF PENNSYLVANIA
NOTARIAL SEAL
JUDE ALEXANDER BAYER
Notary Public
GITY OF HAZLETON, LUZERNE COUNTY
My Commission Expires Mar 16, 2020

ie Mae Uniform Instrument - Pennsylvania Form 3162 06/06 (rev. 06/12)
(page 4 of 6)

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc
Main Document Page 7 of 9
Rushmore — Management Services LLC

By: . f— CU?) (Seal) - Lender

Name: Karen MW. astro
Title: Senior Vice President

2iA7S

Date of Lender's Signature

[Space Below This Line For Acknowledgments]

County ss:

On this, the day of , 20 , before me, the undersigned officer,
personally appeared

, the of

satisfactorily proven to be the person(s) whose name(s) is/are subscribed to the written instrument and
acknowledged that he/she/they executed the same for the purpose herein contained.

IN WITNESS WHEREOF, | hereunto set my hand and official seal.

My commission expires:

Signature of Notary

Title of Officer

annie Mae Uniform Instrument - Pennsylvania Form 3162 06/06 (rev. 06/12)
(page 5 of 6)

Mortgage Cadence Document Center © &Y

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc
Main Document Page 8 of 9
CERTIFICATE OF RESIDENCE

I, Karen M. Mastro
Senlor Vice President Agent of Lender

do hereby certify that the precise address of the within-named lender is:

Rushmore Loan Management Services LLC
15480 Laguna Canyon Road,
Irvine, California me

Witness ™) hand this yo tay Al ‘: UL ~ PO (G

ZC Z )

= of Agent of. Lender

Mae Uniform Instrument - Pennsylvania Form 3162 06/06 (rev. 06/12)
(page 6 of 6)

Case 5:23-bk-00117-MJC Doc Filed 05/03/24 Entered 05/03/24 10:54:03 Desc
Main Document Page 9 of9
